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        EXHIBIT E
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John Schnettler

From:                               Spears, Rasheena <FOIAEXPRESS_NFO@epa.gov>
Sent:                               Monday, April 7, 2025 1:54 PM
To:                                 EDF Info Transparency Team
Subject:                            [EXTERNAL] 2025-EPA-04812-Acknowledgement Letter

Categories:                         Yellow Category



   You don't often get email from foiaexpress_nfo@epa.gov. Learn why this is important

04/07/2025

Erin Murphy
Environmental Defense Fund
555 12th St., N.W., Suite 400
Washington, DC 20004

EMAILED TO: infotransparency@edf.org

RE: Acknowledgment Letter - EPA FOIA Request 2025-EPA-04812

Dear Erin Murphy:

This letter concerns the above-referenced Freedom of Information Act (FOIA) request, received by
the U.S. Environmental Protection Agency (EPA), National FOIA Office (NFO) on 03/27/2025 in which
you are seeking the following:

"EDF requests the following records:

1. Records relating to EPA’s action instituting a process to issue compliance exemptions
under Clean Air Act section 112, including correspondence with outside entities about
the development of, and institution of, this process;

2. Records of decisions by any federal or state entity to either grant or deny a
compliance exemption pursuant to Clean Air Act section 112(i)(3)(B) or 112(i)(4);

3. Records of the rationale or reasoning for the decision to grant or deny the exemption;

4. All correspondence with outside entities relating to Clean Air Act section 112(i)(3)(B)
or 112(i)(4) exemptions, including any requests for exemptions and any information or
materials in support of a request for such an exemption;

5. All correspondence to and from the following electronic mailbox: airaction@epa.gov. "

Your FOIA request was assigned for processing. If you have any questions about your request, please
contact the office mentioned below and reference your EPA FOIA request number 2025-EPA-04812.

Office of Air and Radiation FOIA Program: You may contact OAR’s Kristina Sandfoss at
sandfoss.kristina@epa.gov or (202) 564-7177.

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If you need any further assistance or would like to discuss any aspect of your request, you may seek
assistance from EPA’s FOIA Public Liaison at hq.foia@epa.gov or call (202) 566-1667. You may also
seek assistance from the Office of Government Information Services (OGIS). You may contact OGIS
in any of the following ways: by mail, Office of Government Information Services, National Archives
and Records Administration, 8601 Adelphi Road, College Park, MD 20740-6001; email:
ogis@nara.gov; telephone: (202) 741-5770 or (877) 684-6448; or fax: (202) 741-5769.

Sincerely,

National FOIA Office
U.S. Environmental Protection Agency




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